       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 1 of 9




                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

              v.                             Case No. 19-CR-10080-NMG

GREGORY COLBURN, et al.,

       Defendants.


     DEFENDANT I-HSIN “JOEY” CHEN’S INITIAL EXHIBIT LIST

      Defendant I-Hsin “Joey” Chen respectfully submits the following initial list

of proposed exhibits for the January 2022 trial brought by the government against

himself and fellow defendants Gregory Colburn, and Amy Colburn. Defendant

reserves the right to supplement this list with reasonable notice to the government.


Dated: November 19, 2021                      Respectfully submitted,

                                              /s/ Reuben Camper Cahn
                                              Reuben Camper Cahn (pro hac vice)
                                              KELLER/ANDERLE LLP
                                              18300 Von Karman Avenue, Suite 930
                                              Irvine, California 92612
                                              Tel. (949) 476-8700
                                              rcahn@kelleranderle.com

                                              Counsel for I-Hsin “Joey” Chen




                                         1
       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 2 of 9




                          CERTIFICATE OF SERVICE
      In accordance with Local Rule 5.2(b), I, Reuben Camper Cahn, hereby certify
that on November 19, 2021 this document filed through the ECF system will be sent
electronically to the registered participants as identified in the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.
                                              /s/Reuben Camper Cahn
                                              Reuben Camper Cahn




                                          2
       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 3 of 9




Exhibit No. Beginning Bates                    End Bates
  1           VB-RECORDS-00000773              VB-RECORDS-00000774
  2           VB-RECORDS-00000775              VB-RECORDS-00000776
  3           VB-RECORDS-00000797              VB-RECORDS-00000797
  4           VB-RECORDS-00000798              VB-RECORDS-00000799
  5           VB-RECORDS-00000800              VB-RECORDS-00000803
  6           VB-RECORDS-00001496              VB-RECORDS-00001496
  7           VB-RECORDS-00001515              VB-RECORDS-00001516
  8           VB-RECORDS-00001642              VB-RECORDS-00001642
  9           VB-RECORDS-00001643              VB-RECORDS-00001644
  10          VB-RECORDS-00001645              VB-RECORDS-00001649
  11          VB-RECORDS-00001650              VB-RECORDS-00001650
  12          VB-RECORDS-00001651              VB-RECORDS-00001651
  13          VB-RECORDS-00001652              VB-RECORDS-00001652
  14          VB-RECORDS-00001653              VB-RECORDS-00001653
  15          VB-RECORDS-00001654              VB-RECORDS-00001655
  16          VB-RECORDS-00001656              VB-RECORDS-00001656
  17          VB-RECORDS-00001657              VB-RECORDS-00001658
  18          VB-RECORDS-00001659              VB-RECORDS-00001660
  19          VB-RECORDS-00001661              VB-RECORDS-00001661
  20          VB-RECORDS-00001662              VB-RECORDS-00001662
  21          VB-RECORDS-00001663              VB-RECORDS-00001663
  22          VB-RECORDS-00001665              VB-RECORDS-00001665
  23          VB-RECORDS-00001670              VB-RECORDS-00001673
  24          VB-RECORDS-00001674              VB-RECORDS-00001674
  25          VB-RECORDS-00001676              VB-RECORDS-00001677
  26          VB-RECORDS-00001678              VB-RECORDS-00001678
  27          VB-RECORDS-00001679              VB-RECORDS-00001679


                                 Page 1 of 7
       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 4 of 9




Exhibit No. Beginning Bates                    End Bates
  28          VB-RECORDS-00001680              VB-RECORDS-00001680
  29          VB-RECORDS-00001681              VB-RECORDS-00001681
  30          VB-RECORDS-00001682              VB-RECORDS-00001684
  31          VB-RECORDS-00001685              VB-RECORDS-00001687
  32          VB-RECORDS-00001688              VB-RECORDS-00001690
  33          VB-RECORDS-00001691              VB-RECORDS-00001692
  34          VB-RECORDS-00001693              VB-RECORDS-00001694
  35          VB-RECORDS-00001695              VB-RECORDS-00001696
  36          VB-RECORDS-00001697              VB-RECORDS-00001697
  37          VB-RECORDS-00001698              VB-RECORDS-00001698
  38          VB-RECORDS-00001699              VB-RECORDS-00001701
  39          VB-RECORDS-00001702              VB-RECORDS-00001702
  40          VB-RECORDS-00001703              VB-RECORDS-00001703
  41          VB-RECORDS-00001704              VB-RECORDS-00001705
  42          VB-RECORDS-00001706              VB-RECORDS-00001707
  43          VB-RECORDS-00001708              VB-RECORDS-00001708
  44          VB-RECORDS-00001709              VB-RECORDS-00001710
  45          VB-RECORDS-00001711              VB-RECORDS-00001712
  46          VB-RECORDS-00001713              VB-RECORDS-00001714
  47          VB-RECORDS-00001715              VB-RECORDS-00001715
  48          VB-RECORDS-00001716              VB-RECORDS-00001717
  49          VB-RECORDS-00001718              VB-RECORDS-00001720
  50          VB-RECORDS-00001723              VB-RECORDS-00001723
  51          VB-RECORDS-00001724              VB-RECORDS-00001724
  52          VB-RECORDS-00001725              VB-RECORDS-00001725
  53          VB-RECORDS-00001726              VB-RECORDS-00001726
  54          VB-RECORDS-00001727              VB-RECORDS-00001727


                                 Page 2 of 7
       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 5 of 9




Exhibit No. Beginning Bates                    End Bates
  55          VB-RECORDS-00001728              VB-RECORDS-00001730
  56          VB-RECORDS-00001731              VB-RECORDS-00001734
  57          VB-RECORDS-00001806              VB-RECORDS-00001817
  58          VB-RECORDS-00001818              VB-RECORDS-00001821
  59          VB-RECORDS-00001822              VB-RECORDS-00001824
  60          VB-RECORDS-00001827              VB-RECORDS-00001828
  61          VB-RECORDS-00001829              VB-RECORDS-00001830
  62          VB-RECORDS-00001837              VB-RECORDS-00001840
  63          VB-RECORDS-00001873              VB-RECORDS-00001894
  64          VB-RECORDS-00001896              VB-RECORDS-00001899
  65          VB-RECORDS-00001900              VB-RECORDS-00001921
  66          VB-RECORDS-00001923              VB-RECORDS-00001924
  67          VB-RECORDS-00052055              VB-RECORDS-00052060
  68          VB-RECORDS-00052774              VB-RECORDS-00052775
  69          VB-RECORDS-00052776              VB-RECORDS-00052777
  70          VB-RECORDS-00052782              VB-RECORDS-00052807
  71          VB-RECORDS-00136387              VB-RECORDS-00136388
  72          VB-RECORDS-00136392              VB-RECORDS-00136392
  73          VB-RECORDS-00136398              VB-RECORDS-00136399
  74          VB-RECORDS-00136400              VB-RECORDS-00136401
  75          VB-RECORDS-00136402              VB-RECORDS-00136403
  76          VB-RECORDS-00585150              VB-RECORDS-00585152
  77          VB-RECORDS-00628282              VB-RECORDS-00628282
  78          SINGER-VOL006-002942             SINGER-VOL006-002951
  79          SINGER-VOL006-003167             SINGER-VOL006-003167
  80          SINGER-VOL006-004607             SINGER-VOL006-004609
  81          SINGER-VOL016-005298             SINGER-VOL016-005298


                                 Page 3 of 7
       Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 6 of 9




Exhibit No. Beginning Bates                    End Bates
  82          SINGER-VOL016-019337             SINGER-VOL016-019339
  83          SINGER-VOL016-020825             SINGER-VOL016-020837
  84          SINGER-VOL016-035201             SINGER-VOL016-035210
  85          SINGER-VOL016-035247             SINGER-VOL016-035250
  86          SINGER-VOL016-035320             SINGER-VOL016-035325
  87          SINGER-VOL016-037606             SINGER-VOL016-037608
  88          SINGER-VOL016-038147             SINGER-VOL016-038151
  89          SINGER-VOL016-038798             SINGER-VOL016-038810
  90          SINGER-VOL016-039282             SINGER-VOL016-039283
  91          SINGER-VOL016-039436             SINGER-VOL016-039442
  92          SINGER-VOL032-000004             SINGER-VOL032-000016
  93          SINGER-LAPTOP-00043138           SINGER-LAPTOP-00043138
  94          SINGER-LAPTOP-00043881           SINGER-LAPTOP-00043881
  95          SINGER-LAPTOP-00168799           SINGER-LAPTOP-00168801
  96          SINGER-LAPTOP-00170795           SINGER-LAPTOP-00170796
  97          SINGER-KWF-000042                SINGER-KWF-000042
  98          SINGER-REPORTS-000007            SINGER-REPORTS-000016
  99          SINGER-REPORTS-000022            SINGER-REPORTS-000025
  100         SINGER-REPORTS-000030            SINGER-REPORTS-000032
  101         SINGER-REPORTS-000033            SINGER-REPORTS-000038
  102         SINGER-REPORTS-000039            SINGER-REPORTS-000044
  103         SINGER-REPORTS-000064            SINGER-REPORTS-000066
  104         SINGER-REPORTS-000092            SINGER-REPORTS-000096
  105         SINGER-REPORTS-000099            SINGER-REPORTS-000102
  106         SINGER-REPORTS-000124            SINGER-REPORTS-000130
  107         SINGER-PHONE-000536              SINGER-PHONE-000538
  108         USAO-VB-00018064                 USAO-VB-00018067


                                 Page 4 of 7
     Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 7 of 9




Exhibit No. Beginning Bates                  End Bates
  109       USAO-VB-00018978                 USAO-VB-00018979
  110       USAO-VB-00018980                 USAO-VB-0018981
  111       USAO-VB-00031882                 USAO-VB-00031882
  112       USAO-VB-00055083                 USAO-VB-00055085
  113       USAO-VB-00329134                 USAO-VB-00329134
  114       USAO-VB-00333626                 USAO-VB-00333626
  115       USAO-VB-00425247                 USAO-VB-00425249
  116       USAO-VB-00638243                 USAO-VB-00638243
  117       USAO-VB-00736622                 USAO-VB-00736623
  118       USAO-LP-001104                   USAO-LP-001162
  119       USC-REPORTS-000084               USC-REPORTS-000085
  120       DOJ-SINGER-TIII-00028108         DOJ-SINGER-TIII-00028108
  121       CHEN000034                       CHEN002953
  122       CHEN002954                       CHEN005985
  123       CHEN005986                       CHEN006048
  124       CHEN006049                       CHEN006052
  125       CHEN006053                       CHEN006053
  126       CHEN006054                       CHEN006054
  127       CHEN006055                       CHEN006055
  128       CHEN006056                       CHEN006056
  129       CHEN006057                       CHEN006058
  130       CHEN006059                       CHEN006061
  131       CHEN006062                       CHEN006071
  132       CHEN006072                       CHEN006073
  133       CHEN006074                       CHEN006075
  134       CHEN006076                       CHEN006076
  135       CHEN006077                       CHEN006081


                               Page 5 of 7
            Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 8 of 9




    Exhibit No. Beginning Bates                             End Bates
        136               CHEN006082                        CHEN006098
        137               CHEN006099                        CHEN006099
        138               CHEN006100                        CHEN006100
        139               CHEN006101                        CHEN006111
        140               CHEN006112                        CHEN006120
        141               CHEN006121                        CHEN006129
        142               CHEN006130                        CHEN006138
        143               CHEN006139                        CHEN006146
        144               CHEN006147                        CHEN006155
        145               CHEN006156                        CHEN006163
        146               CHEN006164                        CHEN006172
        147               CHEN006173                        CHEN006181
        148               CHEN006182                        CHEN006189
        149               CHEN006190                        CHEN006200
        150               CHEN006201                        CHEN006209
        151               CHEN006210                        CHEN006217
        152               19-cr-10080, Dkt. 972-33          19-cr-10080, Dkt. 972-33
        153               19-cr-10080, Dkt. 972-35          19-cr-10080, Dkt. 972-35
        154               19-cr-10080, Dkt. 972-42          19-cr-10080, Dkt. 972-42
        155               19-cr-10080, Dkt. 1104-1          19-cr-10080, Dkt.1104-1
        156               19-cr-10080, Dkt.1104-4           19-cr-10080, Dkt.1104-4
        157               Getting In by Rick Singer1
                          Getting In: Personal Brands by
        158
                          Rick Singer2
        159               RCTRL0001021110                   RCTRL0001021110
        160               RCTRL0001023923                   RCTRL0001023923

1
    Publicly available.
2
    Publicly available.


                                              Page 6 of 7
     Case 1:19-cr-10080-NMG Document 2437 Filed 11/19/21 Page 9 of 9




Exhibit No. Beginning Bates                  End Bates
  161       RCTRL0001026240                  RCTRL0001026240
  162       RCTRL0001029025                  RCTRL0001029025
  163       RCTRL0001030921                  RCTRL0001030921
  164       RCTRL0001032902                  RCTRL0001032902
  165       RCTRL0001036948                  RCTRL0001036948
  166       RCTRL0001053729                  RCTRL0001053729
  167       RCTRL0001054079                  RCTRL0001054079
  168       RCTRL0001055050                  RCTRL0001055050
  169       RCTRL0001060861                  RCTRL0001060861
  170       RCTRL0001065483                  RCTRL0001065483
  171       RCTRL0001073852                  RCTRL0001073852
  172       RCTRL0001080826                  RCTRL0001080826
  173       RCTRL0001082159                  RCTRL0001082159
  174       RCTRL0001085751                  RCTRL0001085751
  175       RCTRL0001095035                  RCTRL0001095035
  176       RCTRL0001103394                  RCTRL0001103394




                               Page 7 of 7
